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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION

DR. AMY R. WOODS                                                                  PLAINTIFF

VS.                                                       CAUSE NO. 3:19-CV-00234-NBB-RP

MHM HEALTH PROFESSIONALS, LLC, D/B/A
CENTURION PROFESSIONALS;
MANAGEMENT & TRAINING CORPORATION;
JESSE WILLIAMS, INDIVIDUALLY; AND
JOHN DOES 1-9                                                                  DEFENDANTS

                                                                    JURY TRIAL DEMANDED


                             SECOND AMENDED COMPLAINT


        COMES NOW Plaintiff Dr. Amy R. Woods (“Dr. Woods”), by and through counsel, and

files this Second Amended Complaint against Defendants MHM Health Professionals, LLC, d/b/a

Centurion Professionals; Management & Training Corporation; Jesse Williams, individually; and

John Does 1 through 9, inclusive, and would show as follows:

                                         THE PARTIES

        1.     Plaintiff Dr. Amy R. Woods (“Dr. Woods”) is an adult resident citizen of Marshall

County, Mississippi.

        2.     Defendant MHM Health Professionals, LLC, d/b/a Centurion Professionals

(“MHMHP”) is a Mississippi limited liability company. MHMHP may be served by service upon

its attorney of record, pursuant to FED. R. CIV. P. 5(b). MHMHP had contracted with Defendant

Management & Training Corporation to provide medical services to prisoners at the Marshall

County Correctional Facility (“MCCF”). Alternatively, MHMHP may have contracted directly

with the State of Mississippi to provide medical services to prisoners.




                                          EXHIBIT "1"
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       3.      Defendant Management & Training Corporation (“MTC”) is a foreign corporation

registered to do business in Mississippi. MTC may be served by service upon its attorney of

record, pursuant to FED. R. CIV. P. 5(b).

       4.      Defendant Jesse Williams (“Warden Williams”) is the Warden of MCCF, and may

be served by service upon his attorney of record, pursuant to FED. R. CIV. P. 5(b). MTC operates

the private correctional facility, MCCF. MTC is paid to perform the state function of incarcerating

convicted prisoners, pursuant to a contract with the State of Mississippi. Warden Williams is an

employee of MTC. At all relevant times, Warden Williams acted within the course and scope of

his employment as an employee of MTC. Alternatively, if Warden Williams’ employer is not

MTC, then Dr. Woods requests leave to amend to name the correct employer of Warden Williams

when the employer of Warden Williams is learned through discovery.

       5.      Defendants John Does 1 through 9 are unknown Defendants who may have

participated in the civil conspiracy to terminate Dr. Woods, in violation of Mississippi public

policy or Defendants who may have tortiously interfered with Dr. Woods’ employment, or both.

                                 JURISDICTION AND VENUE

       6.      The Circuit Court of Marshall County, Mississippi, has proper jurisdiction over this

action. Defendants claim this Court has diversity jurisdiction, and have removed it to this Court.

Dr. Woods cannot know, without discovery, whether there are Defendants who are Mississippi

residents, and, therefore, cannot know whether the federal district court has jurisdiction.

       7.      Venue is proper in either the Circuit Court of Marshall County, Mississippi, or in

this Court, because the acts giving rise to this claim occurred in Marshall County, Mississippi.




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                                  STATEMENT OF FACTS

        8.      Dr. Woods was employed by MHMHP to serve as the on-site physician at MCCF.

Alternatively, MHMHP and other entities were Dr. Woods’ employer. Dr. Woods alleges that she

is an employee of MHM Health Professionals, based upon a letter offering employment to Dr.

Woods, dated October 12, 2016, and based upon the position taken by defense counsel. (See Offer

of Employment, dated October 12, 2016, attached hereto as Exhibit “A.”) Dr. Woods, however,

may have been an employee of MHM Services, Inc., as indicated in a letter to Dr. Woods, dated

January 20, 2017. (See Letter to Dr. Woods from Jamaal Gilani, dated January 20, 2017, attached

hereto as Exhibit “B.”) Dr. Woods may have also been an employee of Centurion of Mississippi,

LLC, as indicated in a letter to Dr. Woods, dated October 2, 2017. (See Letter to Dr. Woods from

Kristie Huff, dated October 2, 2017, attached hereto as Exhibit “C.”) In the event other Defendants

were the employer of Dr. Woods, she requests leave to amend this Second Amended Complaint to

name these other Defendants as her employer. Without discovery, Dr. Woods cannot know what

entities may actually be considered to be her lawful employer.

        9.      Dr. Woods’ duties included evaluating and treating prisoners at MCCF. Dr.

Woods’ duties also included determining when prisoners should be sent for care or hospitalization

outside of the facility.

        10.     Throughout Dr. Woods’ employment, Dr. Woods made sound medical judgments

as to the treatment of prisoners. There was not adequate medical treatment and adequate personnel

available at the MCCF to furnish all the necessary medical treatment for prisoner’s serious medical

needs. When a prisoner’s medical condition was sufficiently severe as to require outside treatment,

Dr. Woods instructed staff to transport the prisoner outside of the facility to receive necessary

medical care.



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       11.     Warden Williams was the Warden of MCCF. Warden Williams often complained

to Dr. Woods about prisoners being taken outside of the prison for treatment or hospitalization.

Warden Williams wanted Dr. Woods to refrain from sending prisoners outside the facility for

hospitalization or treatment, even for serious medical needs that could not be met onsite. Some

prisoners’ medical transportations were cancelled by the unilateral actions of staff employed by or

controlled by MTC.

       12.     Dr. Woods continued to make sound medical decisions to care for the serious

medical needs of the prisoners. Dr. Woods did not unnecessarily send prisoners outside of the

facility, but did send prisoners outside of the facility when a prisoner’s serious medical condition

required such outside treatment or hospitalization. Dr. Woods treated the prisoners and referred

them to outside care, consistent with the prisoners’ rights under Mississippi and federal law.

       13.     Warden Williams and other staff at the prison were angered by Dr. Woods’ actions

of sending prisoners outside the facility, even when this was necessary to attend to the prisoners’

serious medical needs. Warden Williams and other employees of MTC resented the inconvenience

and expense of sending prisoners outside of the facility, regardless of their medical needs.

       14.     Warden Williams encouraged Dr. Woods to ignore the prisoners’ constitutional

rights to adequate medical treatment. Warden Williams generally demanded that Dr. Woods not

require that the prisoners be provided with adequate medical care.

       15.     Dr. Woods refused to be complicit with depriving any of the prisoners to adequate

medical care and refused to be willfully indifferent to the serious medical needs of prisoners. Dr.

Woods continued to provide medical care and sound medical decision making as to the prisoners’

treatment and hospitalization.




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          16.   Warden Williams confronted Dr. Woods about sending prisoners outside of the

prison for treatment and hospitalization. Warden Williams also claimed that Dr. Woods was

making negative statements about MCCF, its staffing, and the provision of medical care within the

prison.

          17.   On June 21, 2019, or June 22, 2019, Captain Sandra Rogers, an employee of MTC,

countermanded Dr. Woods’ order to transport a prisoner to the Baptist Memorial Hospital – North

Mississippi (“BMH”) in Oxford, Mississippi, for necessary medical treatment of a serious medical

condition, consisting of trauma to his ear. On June 25, 2019, Warden Williams told Dr. Woods

that her security clearance was revoked. On June 28, 2019, Kristie Huff, a Human Resources

employee, believed to be employed by MTC, or, alternatively, employed by a company known as

Centurion of Mississippi, told Dr. Woods that she was sending her a “separation packet,” thereby

terminating Dr. Woods’ employment.

          18.   MHMHP terminated Dr. Woods’ employment because she refused to participate in

depriving the prisoners at MCCF of necessary medical care, as demanded by Warden Williams

and other staff at the prison. The reason Warden Williams revoked Dr. Woods’ security clearance

was to keep her from providing necessary medical treatment to prisoners that could be provided

only outside of the prison facilities.

                    COUNT ONE – TERMINATION IN VIOLATION OF
                           MISSISSIPPI PUBLIC POLICY

          19.   There were no issues about Dr. Woods’ job performance, except that Dr. Woods

had refused the explicit directions of Warden Williams and the implied directions of MHMHP that

she participate in illegal activity by being deliberately indifferent to the serious medical needs of

prisoners. The reason for Dr. Woods’ termination was her refusal to participate in illegal activities

by refusing to be willfully indifferent to the serious medical needs of prisoners.

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       20.    Examples of the serious medical needs of prisoners, whom Dr. Woods tried to assist

by sending them for outside medical treatment, include the following:

              a.      On April 25, 2019, an inmate reported to Nurse Elizabeth Mason that he
                      had been sexually assaulted by another inmate. The inmate stated that he
                      had not showered or bathed since the incident occurred. This inmate needed
                      immediate, off-site evaluation in the emergency room at Baptist Memorial
                      Hospital – North Mississippi (“BMH”) in Oxford, Mississippi for a rape
                      collection kit. Both Nurse Practitioner Traci Cox and Dr. Woods gave the
                      order for the inmate to be taken off-site for necessary medical purposes.
                      The MTC security staff declined to take the inmate to the emergency room
                      at BMH at the time; they finally did so the next day. They did so despite
                      the fact they were notified that the DNA evidence is time-sensitive, and the
                      inmate needed evaluation immediately after reporting being raped.
                      Evaluating this inmate was necessary, both to his serious medical needs and
                      to carry out the purpose of providing reliable evidence concerning his
                      alleged rape.

              b.      Another example of an extreme incident of deliberate indifference to a
                      prisoner’s serious medical needs occurred on either Friday, June 21, 2019,
                      or Saturday, June 22, 2019. Dr. Woods was called by Nurse Rita Stepp
                      regarding an inmate who had a large portion of his ear bitten off by another
                      inmate. Dr. Woods had no facilities to treat the inmate, and there was a
                      significant danger that the prisoner could bleed to death. Accordingly, Dr.
                      Woods gave the order to send the inmate to the emergency room at BMH
                      for evaluation. The emergency room physician at BMH indicated that the
                      ear trauma was so severe the inmate should be transferred to the University
                      of Mississippi Medical Center (“UMMC”) in Jackson, Mississippi, for
                      further treatment and evaluation by a plastic surgeon. Dr. Woods agreed
                      with this assessment, and called Nurse Stepp. Captain Sandra Rogers, an
                      employee of MTC, took the telephone from Nurse Stepp, and angrily told
                      her that MTC security did not have enough staff to transport the inmate.
                      Nurse Stepp told Dr. Woods that the MTC staff would bring the inmate back
                      to the Marshall County Correctional Facility, and that Dr. Woods could
                      arrange outpatient treatment. Dr. Woods informed Captain Rogers that this
                      was not an acceptable plan because of high risk of infection of the inmate’s
                      ear. The emergency room physician documented this interaction and the
                      refusal to take the inmate to UMMC. Ultimately, the inmate was taken to
                      UMMC for plastic surgery, but not until several hours later.

                      Approximately three (3) to four (4) days after the incident occurred, Warden
                      Williams called Dr. Woods to his office, and informed her that her security
                      clearance was revoked.




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       21.     It is unlawful under Mississippi law for an employer to terminate an employee

based on the employee’s refusal to perform an illegal act. It is a violation of Mississippi public

policy for an employer to terminate an employee because of the employee’s refusal to perform an

illegal act. It is a violation of Mississippi law to discharge an employee for reasons that conflict

with either Mississippi or federal public policy.

       22.     It is a criminally illegal act to deprive prisoners of necessary medical care under

both State and federal law. For instance, MISS. CODE ANN. § 47-1-27 provides as follows:

               An official, or guard, or other employee, having the custody of any
               county prisoner, or any official or employee of the county having
               custody of any county prisoner, who shall maltreat or abuse any such
               convict, or who shall knowingly permit the same to be done, or who
               being under duty to provide sufficient and wholesome food,
               clothing, shelter, bathing facilities, or medical attention to such
               convict, shall willfully fail to furnish the same to such convict, shall
               be deemed guilty of a misdemeanor, and on conviction shall be fined
               in any sum not less than Ten Dollars ($10.00) nor more than Five
               Hundred Dollars ($500.00), or shall be imprisoned not less than one
               (1) month, or shall suffer both such fine and imprisonment, in the
               discretion of the court, and it shall be the duty of the judge of the
               circuit court of such county to so charge the grand jury.

MISS. CODE ANN. § 47-1-27.

       23.     Similarly, a Federal statute makes it a crime to deprive prisoners of civil rights,

such as the right to adequate medical care, under color of State law. The statute provides:

               Whoever, under color of any law, statute, ordinance, regulation, or
               custom, willfully subjects any person in any State, Territory,
               Commonwealth, Possession, or District to the deprivation of any
               rights, privileges, or immunities secured or protected by the
               Constitution or laws of the United States, or to different
               punishments, pains, or penalties, on account of such person being an
               alien, or by reason of his color, or race, than are prescribed for the
               punishment of citizens, shall be fined under this title or imprisoned
               not more than one year, or both; and if bodily injury results from the
               acts committed in violation of this section or if such acts include the
               use, attempted use, or threatened use of a dangerous weapon,
               explosives, or fire, shall be fined under this title or imprisoned not

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                 more than ten years, or both; and if death results from the acts
                 committed in violation of this section or if such acts include
                 kidnapping or an attempt to kidnap, aggravated sexual abuse, or an
                 attempt to commit aggravated sexual abuse, or an attempt to kill,
                 shall be fined under this title, or imprisoned for any term of years or
                 for life, or both, or may be sentenced to death.

18 U.S.C. § 242.

       24.       The public policy of the United States, through the Eighth Amendment to the

United States Constitution, also requires that Dr. Woods not be willfully indifferent to the serious

medical needs of prisoners.

       25.       Dr. Woods refused to engage in the illegal conduct of depriving prisoners at MCCF

of adequate medical care and refused to be willfully indifferent to the serious medical needs of

prisoners.

       26.       Dr. Woods was terminated by MHMHP for her refusal to engage in illegal conduct.

Her termination was in violation of the Eighth Amendment to the United States Constitution, 18

U.S.C. § 242, MISS. CODE ANN. § 47-1-27, and the established public policy of the State of

Mississippi of attending to the serious medical needs of prisoners. Possibly, other entities were

also Dr. Woods’ employer, and such entities participated in the discharge decision. Dr. Woods

requests leave to name these entities as Defendants, should discovery establish that they were Dr.

Woods’ employer or co-employer.

       27.       MHMHP is liable to Dr. Woods for terminating her in violation of Mississippi

public policy.

                          COUNT TWO – CIVIL CONSPIRACY

       28.       MHMHP; MTC; Warden Williams, individually; and John Doe Defendants 1-9

engaged in a civil conspiracy to terminate Dr. Woods’ employment in violation of Mississippi law.




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        29.     Defendants, or some combination of them, entered into a tacit agreement to

terminate Dr. Woods’ employment because Dr. Woods would not violate the prisoners’ rights to

adequate medical treatment.

        30.     Defendants entered into the conspiracy to accomplish the unlawful purpose of

terminating Dr. Woods’ employment in violation of Mississippi law.

        31.     MHMHP, MTC, and Warden Williams, individually, are liable to Dr. Woods for

the tort of civil conspiracy.

        COUNT THREE – TORTIOUS INTERFERENCE WITH EMPLOYMENT

        32.     MTC; Warden Williams, individually; and John Does 1 through 9, inclusive,

engaged in intentional and willful acts designed to interfere with Dr. Woods’ employment as the

physician at MCCF.

        33.     MTC, Warden Williams, and the John Doe Defendants engaged in acts that were

calculated to cause harm to Dr. Woods in her employment.

        34.     MTC, Warden Williams, and the John Doe Defendants engaged in acts that were

done with the unlawful purpose of interfering with Dr. Woods’ employment without right or

justifiable cause.

        35.     Dr. Woods sustained damages as a result of the actions of Defendants’ actions.

        36.     MTC, Warden Williams, and the John Doe Defendants are liable for tortious

interference with Dr. Woods’ employment.

      COUNT FOUR – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

        37.     All Defendants acted intentionally and willfully in participating in the scheme to

terminate Dr. Woods’ employment.




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       38.     All Defendants’ actions are such that they evoke outrage in a civilized society.

Defendants’ actions were directed at Dr. Woods and calculated to cause her harm.

       39.     Dr. Woods suffered severe mental anxiety and emotional distress as a result of

Defendants’ intentional actions.

       40.     All Defendants are liable for intentional infliction of emotional distress.

                                           DAMAGES

       41.     Dr. Woods suffered damages as follows:

               a.      Lost wages, including back-pay and front-pay;

               b.      Lost benefits;

               c.      Damages to her professional reputation and standing; and

               d.      Damages for mental anxiety and emotional distress.

       42.     Further, because all of the actions of Defendants were intentional and egregious,

Dr. Woods requests an award of punitive damages and an award of her reasonable attorneys’ fees.

                                     PRAYER FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, Dr. Woods requests an award of

compensatory damages and punitive damages against all Defendants. Dr. Woods requests an

award of her reasonable attorneys’ fees as to all Defendants. Dr. Woods requests trial by jury. Dr.

Woods requests pre-judgment interest on the back-pay award, and post-judgment interest on all

damages ordered. Dr. Woods requests an award of all costs. Dr. Woods requests such other and

more general relief to which she is entitled.




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   RESPECTFULLY SUBMITTED, this the _______ day of _______________, 20_____.

                                   DR. AMY R. WOODS, Plaintiff


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                                 CERTIFICATE OF SERVICE

       This will certify that undersigned counsel for Plaintiff has this day filed the above and
foregoing with the Clerk of the Court, utilizing the federal court electronic case data filing system
(CM/ECF), which sent notification of such filing to the following:

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       DATED, this the _______ day of _______________, 20_____.


                                              /s/ Jim Waide
                                              Jim Waide


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                                EXHIBIT "B"
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                                EXHIBIT "C"
